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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION
                                  CASE NO. 9:15-CV-80072-DMM


              BOW DOWN, INC., a Florida
              corporation,
                                Plaintiff,
              -vs-
              MOUNT VERNON FIRE INSURANCE COMPANY,
              a foreign company,

                            Defendants.
              _______________________________________/



                                         DEPOSITION OF
                                      SCOTT STEIN, A.R.M.




                                     Tuesday, July 7, 2015
                                     1:00 p.m. - 3:21 p.m.

                                  Republic Executive Suites
                                    1375 Gateway Boulevard
                                 Boynton Beach, Florida 33426




                                Stenographically Reported By:
                                 Robyn Maxwell, RPR, FPR, CLR
                                Realtime Systems Administrator



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                                                                                2

         1    APPEARANCES:
         2
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         1    Thereupon,

         2    the following proceedings began at 1:00 p.m.:

         3                     THE COURT REPORTER:     Raise your right hand,

         4               please.

         5                     Do you solemnly swear or affirm the

         6               testimony you are about to give in this matter

         7               will be the truth, the whole truth, and nothing

         8               but the truth?

         9                     THE WITNESS:   I do.

        10    Thereupon,

        11                          SCOTT STEIN, A.R.M.,

        12    having been first duly sworn or affirmed, was examined

        13    and testified as follows:

        14                          DIRECT EXAMINATION

        15    BY MR. STEWART:

        16               Q.    Would you please state your name for the

        17    record.

        18               A.    Scott Stein.

        19               Q.    And, Mr. Stein, what is your professional

        20    address?

        21               A.    5550 Glades Road, Suite 509, Boca Raton,

        22    Florida 33431.

        23               Q.    And what is it that you do at that

        24    professional address?

        25               A.    Two different things.     I own an insurance




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         1    agency for the last 15 years.       And I'm also an expert

         2    witness for approximately the last eight years.

         3             Q.     Okay.

         4             A.     In the insurance field.

         5             Q.     Right.   And how do you divide your time up?

         6             A.     My split is about 65 percent insurance

         7    brokerage business, and 35 percent expert witness

         8    insurance business.

         9             Q.     And as far as your expert witness business,

        10    how is it split between plaintiff and defense?

        11             A.     I'm fortunate.     It's been approximately a

        12    50/50 split between plaintiff and defense.

        13             Q.     And when you say that 65 percent of your

        14    business is a brokerage-type insurance firm, explain what

        15    that means.

        16             A.     Well, I have various insurance contracts

        17    with insurance carriers, and I also work with wholesale

        18    insurance brokers as well.       So I place property and

        19    general liability insurance of various types.

        20             Q.     Okay.

        21             A.     The only type I don't place is auto

        22    insurance.

        23             Q.     And what I'm trying to get a feel for when

        24    you say a brokerage firm -- in this case we have Bow

        25    Down, the insured, then we have Gary Baker; and I forget



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         1    the name of his company and maybe you remember it, but --

         2    and then we have Genesee General, and then we have Bow

         3    Down/USLI.

         4                    Where do you fit into?       And really what I'm

         5    thinking is those middle categories.

         6             A.     Right.     So I fit into the Baker category.

         7    The Genesee General would be the wholesale brokerage

         8    firm.

         9             Q.     Okay.     That's the term.

        10             A.     And I don't fit into that in any way

        11    form -- or form.

        12             Q.     Do you have to have a special license or

        13    qualifications, which is why you would say that you don't

        14    fit into that category?       Or is there just you choose not

        15    to do that kind of work or some other reason?

        16             A.     Well, I choose not to do it.       You typically

        17    find in the insurance business that people are either

        18    what we would -- we term brokers, where they're

        19    wholesalers in terms of placement of insurance, not both

        20    at the same time.       Once in a while you'll find a few

        21    carriers -- a few brokers that are doing wholesale

        22    business as well.

        23                    But to answer your question:       Do you need a

        24    special license; you typically need an excess and surplus

        25    lines license to place the wholesale business.          So I




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         1    don't have an excess and surplus lines license.

         2             Q.     What licenses do you hold?

         3             A.     I hold two licenses.      I hold a

         4    2-20 license, which is a property and casualty insurance

         5    license, and I also hold -- and they've changed the

         6    numbers, so I apologize for it in the State of Florida --

         7    it's either 2-15 or 2-18, a life and health license, as

         8    well.

         9             Q.     But the license that would qualify you to

        10    sell the type of insurance we're dealing with in this

        11    case is a 2-20?

        12             A.     That's correct.

        13             Q.     And in -- you said how many years you've

        14    had your firm and I didn't write it down.

        15             A.     Since the year 2000.

        16             Q.     2000.   You said eight years doing the

        17    expert witness work, but I didn't get the --

        18             A.     Approximately eight years.       That's correct.

        19             Q.     All right.    So give me just a rundown of

        20    your educational background, please.

        21             A.     Sure.   I went to George -- well, I'm not

        22    going to start with high school, unless you want me to

        23    start with high school.

        24             Q.     I want to know where you went to

        25    kindergarten, and what grades did you make.



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         1             A.     I -- I went to George Washington University

         2    in Washington, D.C.     I graduated with a BBA in finance in

         3    1984.   I was on the Dean's list the entire time that I

         4    was there.

         5             Q.     Okay.

         6             A.     Then I became a, in terms of educational,

         7    I -- I was a stockbroker for a period of time working on

         8    Wall Street in New York, and made a decision that few

         9    people make; to purposefully go into the insurance field,

        10    which I did in 1993.     And my educational background in

        11    the insurance field is that I have obviously passed the

        12    examinations for my licenses, but I also have an

        13    associate in risk management designation -- A.R.M.

        14    designation -- from the Insurance Institute of America in

        15    Malvern, Pennsylvania.

        16             Q.     Do you recognize the Insurance Institute of

        17    America as an authoritative source on insurance matters?

        18             A.     Very much so.    They also are involved in

        19    handling a CPCU as well.      So they're very much a higher

        20    source in the subject matter of insurance.

        21             Q.     What's a CPCU?

        22             A.     Certified Property Casualty Underwriter.

        23             Q.     And is that what your designation is?

        24             A.     I do not have that.     It takes

        25    approximately -- it can take approximately five plus




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         1    years to get that.     It involves ten different courses.

         2              Q.     You've been practicing in your own firm

         3    since 2000.    You've been in the insurance field since

         4    '93.   Any reason why you haven't gotten that

         5    certification?

         6              A.     I keep thinking about it, but I really

         7    haven't -- I haven't -- I haven't done that.         There's no

         8    particular reason why I've not done that.         There's

         9    certain areas in it that I am not interested in, such as

        10    taxation and law, and other components of it that I

        11    didn't feel were appropriate.       I felt the A.R.M.

        12    designation was the most appropriate one for me.

        13              Q.     And what is the qualifications for an

        14    A.R.M.?

        15              A.     Three different courses, typically over

        16    about an 18-month period.      You need to pass each

        17    course -- a test for the course, and ultimately then you

        18    are awarded the A.R.M. designation.        It involves things

        19    like fundamentals of finance related to insurance and

        20    other types of -- there's two other courses related to

        21    insurance and related matters, and types of insurance

        22    that are available.     And there's one other course I don't

        23    recall.    It was some time ago.

        24              Q.     Is there a test?

        25              A.     There is a test.    There's actually three




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        1   tests.     So you take a test for each one of the courses

        2   that you take.       There's a very large book for each

        3   course -- for each, excuse me, for each one of the -- one

        4   of the three courses in the -- in the -- for the exam.

        5   You take the exam for each one of those.         And once you've

        6   passed your third one, you then are awarded the A.R.M.

        7              Q.      Where is the Insurance Institute of America

        8   located?

        9              A.      For some reason I believe that it's

       10   Malvern, PA.

       11              Q.      Does the Insurance Institute of America

       12   issue -- I don't know whether you call them policy

       13   directives or memorandums of coverage, those kinds of

       14   things?

       15              A.      I've never seen one from the Insurance

       16   Institute of America.

       17              Q.      You've seen them from other organizations,

       18   correct?

       19              A.      I've seen things fairly related to that

       20   from, say, the Florida Association of Insurance Agents,

       21   FAIA.

       22              Q.      Dealing with the issues in this particular

       23   case, have you seen any -- what would you call them?           I

       24   called it a memorandum of coverage, you know, a bulletin,

       25   an alert.       What would you call it where an organization



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        1   would issue a -- some kind of statement on a particular

        2   area of insurance?
        3             A.     I know I was asked for that --

        4                    MR. GROSS:    Form.

        5             A.     -- in -- in my -- what I'm supposed to

        6   bring today, and I've not seen any -- any documents

        7   whatsoever in that regard.

        8   BY MR. STEWART:

        9             Q.     That deal with the issues in this case?
       10             A.     That's correct.

       11             Q.     Okay.   Have you -- speaking of the issues

       12   in this case, as part of your professional insurance

       13   practice since 1993, have you sold policies similar to
       14   this one?

       15             A.     Very much so, yes.

       16             Q.     Okay.   For instance, a policy that had an
       17   exclusion for a mechanical device or a riding device?
       18             A.     Often, yes.

       19             Q.     An exclusion dealing with athletics -- I'm

       20   sorry, athletic activity, physical activity or sport?
       21             A.     That's a common exclusion.       Yes, that's

       22   correct.

       23             Q.     And you've also sold policies with an
       24   exclusion with regard to trampolines or rebounding
       25   devices?



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        1             A.     Yes, I have.

        2             Q.     Okay.     And have you always interpreted

        3   those exclusions the way that you have interpreted them

        4   here today for this opinion -- the opinions that you

        5   have?

        6             A.     Yes.     In my -- yes, as I have in my report.

        7             Q.     Now, you were asked to bring some materials

        8   with you today, and I know we had some objections as

        9   well.   What did you bring here with you today?

       10             A.     Sure.     I brought, number one, my CV, which

       11   is also in my report, which you've seen.

       12             Q.     Right.

       13             A.     And I had a little bit of trouble

       14   understanding this, but "copies of all statements written

       15   or recorded that you have examined."        Basically, I

       16   brought my entire file with me.

       17             Q.     Okay.

       18             A.     And so, I consider that to be -- I consider

       19   that to be the -- the copies of the statements that I've

       20   reviewed.

       21             Q.     I know that you listed materials that you

       22   reviewed at the beginning of your report.         Have you

       23   reviewed any additional materials since?

       24             A.     These two --

       25             Q.     Okay.



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        1              A.    -- that I received earlier.      I'd say --

        2                    MR. GROSS:     We gave him that a half an hour

        3              before this depo.

        4   BY MR. STEWART:

        5              Q.    Okay.

        6              A.    But that's the only thing that I've seen

        7   that I've reviewed.

        8              Q.    Have you incorporated these into your

        9   opinions?

       10              A.    Not at all.

       11              Q.    What we're referring to when we say "these"

       12   is Docket Entry 68 and Docket Entry 69 in this case, the

       13   Statement of Material Facts, as well as the actual Motion

       14   for Summary Judgment filed by Mount Vernon.

       15                    Okay.   So everything else, other than to

       16   those two items, are the items listed in your report,

       17   correct?

       18              A.    Let me put my glasses back on.

       19              Q.    Sure.

       20              A.    So as we see -- I'll just go through them

       21   as I -- I've checked off each one of them for you, if

       22   that will be helpful.        I'll go through them very quickly.

       23              Q.    Sure.

       24              A.    Number 3:     There were none.

       25                    Number 4:     There were none, or I wrote




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        1   "N/A."

        2                      Number 5:     There were none.

        3             Q.       Let me just slow you down for just a

        4   second.    Okay?

        5                      Okay.   So in response to Number 4, you have

        6   not professionally drafted speeches or given speeches?

        7             A.       I have not.

        8             Q.       Okay.   Keep going.

        9             A.       So Number 5:     I do not have copies of any

       10   of the depositions.        Obviously, they're available if they

       11   were filed with the Court, but I don't have copies of

       12   them because, as all of my attorneys have asked me to do,

       13   is destroy the file after a certain period of time.

       14             Q.       Okay.

       15             A.       So I don't have any of my depositions.

       16             Q.       Okay.

       17             A.       Then Number 6:     The report relating to the

       18   expert opinion in this case, I -- I --

       19             Q.       Provided it.

       20             A.       -- I provided that.

       21             Q.       Yep.

       22             A.       Number 7:     "All notes, calculations, and

       23   other data prepared by you in formatting your opinions."

       24   I have -- all I have are -- you'll see in here, and I'm

       25   happy to show you the entire file, is please -- please




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        1   speak to the attorney about this or please speak to the

        2   attorney about that.        That's basically all it says in

        3   there.

        4             Q.     Your wrote a note to yourself that I need

        5   to speak to the attorney about something?

        6             A.     Yes.    Yes.

        7             Q.     All right.

        8             A.     They all here in the file.       They're just

        9   Post-It notes.     They are attached to particular pages.

       10             Q.     Okay.     Keep going.

       11             A.     Number 8:      There are no drawings, or

       12   graphs, or illustrations, or charts.

       13                    Number 9:      "Your records indicating time

       14   spent" -- and I must apologize.          I thought that I had

       15   made a -- and I'd like -- if I give this to you, I'd like

       16   a copy of it back.       It's my time that I've spent on the

       17   case so far prior to today.

       18                    But typically, what I do is I send out a

       19   formal version of that to the attorneys for payment.             But

       20   I thought I had sent that out and I never did.          So I only

       21   have a handwritten copy of it.

       22             Q.     Okay.     Why don't you just read into the

       23   record everything that you did, starting with the date,

       24   and give me what you did and how much time it took.

       25             A.     I will.




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        1             Q.     Thank you.

        2             A.     On 3/26/15:    Read complaint, from 3:15 to

        3   4:15.

        4                    On 3/27/15:    Continue read complaint, from

        5   11:00 to 11:30, 1:30 to 1:45, and policy.

        6                    Read plaintiff's motion for remand, from

        7   2:00 to 2:45.

        8                    On 3/29/15:    Continue read plaintiff's

        9   motion for remand, 11:30 to 12:00, 1:30 to 3:00.

       10                    On 3/30/15:    Review the underwriting file,

       11   from 11:30 -- excuse me, from 10:30 to 11:15.

       12                    I wrote "reviewed cancellation," but I

       13   didn't write -- I didn't write the times next to that.

       14                    Reviewed the claim file, from 11:45 to

       15   12:00.

       16             Q.     Same date?

       17             A.     Yes, on 3/30/15.

       18             Q.     Okay.

       19             A.     On 4/23/15:    Review the answer and

       20   affirmative defenses and counterclaim to plaintiff's

       21   complaint, from 3:15 to 3:45.

       22                    And on 4/24/15:    The same thing, which is

       23   review the answer, affirmative defenses and counterclaim

       24   to plaintiff's complaint, finish it, from 1:15 to 2:15.

       25                    On 5/21/15:    Read expert report, from 12:00




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        1   to 12:30.

        2                    On 5/22/15:    Discussion with attorneys,

        3   re:   Expert report, from 10:00 to 10:15.

        4                    On 5/30/15:    Discuss with attorney my

        5   expert report, from 4:00 to 4:15.

        6                    On 6/2/15:    Go over papers and notes for

        7   draft expert report, from 10:30 to 11:30, and then from

        8   1:30 to 3:00.

        9                    On 6/3/15:    Again, go over papers and notes

       10   and draft expert report, from 11:00 to 12:00, 2:00 to

       11   2:45, and 3:00 to 3:30.

       12                    On 6/14/15:    Prepare the expert report,

       13   from 10:00 to 11:15, 1:00 to 2:00, 2:30 to 3:00, 3:30 to

       14   4:00, 4:15 to 4:45, and 6:15 to 6:45.

       15                    On 7/2/15:    Meeting with attorneys

       16   before deposition at their office.        I just wrote two

       17   hours.

       18                    On 7/6/15:    Prep for deposition, 9:00 to

       19   11:00, and 1:00 to 3:30.

       20                    That's it.

       21             Q.     Okay.

       22             A.     I'm happy to give you a copy of this, if

       23   you'd like a copy.

       24             Q.     I think we're sufficient there.       Obviously,

       25   we're not.     As I was saying no, I'm seeing her nodding



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        1   yes.    So we'll attach that as Number 1.

        2                    (Plaintiff Exhibit No. 1 was marked.)

        3             A.     As long as I can have that copy back after

        4   that.

        5   BY MR. STEWART:

        6             Q.     And so your total time in this case, it

        7   looks like...

        8             A.     I didn't add up the bottom part.

        9             Q.     That's what I'm doing right now.

       10                    I come up with 22.5 hours.      17 plus 2 plus

       11   2 plus 1.5.     Does that sound right so far?

       12             A.     Yes.

       13             Q.     And you charge how much per hour?

       14             A.     $300 per hour.

       15             Q.     I want to put that over here, just because

       16   what happens is it gets lost in the shuffle and then you

       17   go home with it.

       18                    Okay.   We're continuing on.     You're up to

       19   Number 10, unless there's was anything else on 9.

       20             A.     Not on 9.

       21             Q.     Okay.

       22                    MR. GROSS:     And if I could just real quick,

       23             this is subject to our objections.

       24                    MR. STEWART:     Okay.   I didn't know which

       25             ones -- I forgot which ones you objected to.




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        1                    MR. GROSS:     Six and something.    So he's

        2             already -- I mean, he's producing part of subject

        3             to our objections.

        4                    MR. STEWART:     Okay.

        5                    MR. GROSS:     Go ahead.   I'm sorry.

        6             A.     I believe I had the other expert report

        7   with me, but I don't have it with me today, from your

        8   expert.

        9   BY MR. STEWART:

       10             Q.     From our expert?

       11             A.     Yes.

       12             Q.     I think this one's more geared towards

       13   multiple experts on one side.

       14             A.     No, I don't have -- I don't have any

       15   others, but I apologize I didn't -- I didn't bring your

       16   expert report.

       17             Q.     Okay.

       18             A.     I did bring the correspondence between

       19   Number 12.

       20             Q.     Yeah.

       21             A.     The only things that they've sent to me or

       22   that we've sent to each other.        Oh, and this.

       23             Q.     I'll go ahead and mark your consulting

       24   agreement with the e-mail as 2.

       25                    (Plaintiff Exhibit No. 2 was marked.)



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        1   BY MR. STEWART:

        2             Q.     So this is all the materials that you were
        3   provided that you listed in your report on this little

        4   thumbnail drive?

        5             A.     That's correct.     I asked for actually

        6   everything on paper, but they supplied it to me and the

        7   thumb drive as well, and I decided to use the paper

        8   because I preferred it.

        9             Q.     Okay.    And what was the date of that that
       10   they supplied those to you?
       11             A.     March 23, 2015.

       12             Q.     Okay.    Fair enough.    Just keep going.

       13             A.     Number 11 is N/A.

       14             Q.     Okay.

       15             A.     I'm sorry, Number 12.      I just showed you

       16   the correspondence between us.

       17             Q.     Right.    Right.   But Number 11 is still
       18   none, correct?

       19             A.     That's correct.

       20                    Number 13 is N/A.

       21                    Number 14 is N/A.

       22                    Number 15 is N/A.

       23                    Number 16 is actually located in the file,

       24   which is the photographs that I reviewed of the lake.

       25             Q.     Which would have been part of the police



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        1   report?

        2              A.    Yes, that's correct.

        3              Q.    Is that it as far as photographs?

        4              A.    That's it.   That's the only photographs

        5   that I've seen.

        6              Q.    Okay.

        7              A.    And Number 17 is N/A as well.

        8              Q.    I'm turning my attention to your report,

        9   but really just for the documents that you reviewed.           I

       10   noticed something that you called "Number 11 Policy

       11   Cancellation Document."

       12                    What is that?    You list it as Number 11.

       13              A.    As I recall, I believed I had seen

       14   something that was a cancellation of the actual policy

       15   itself.     And I don't remember where that's located, but I

       16   believe that there was a cancellation notice from the

       17   carrier.

       18              Q.    Okay.

       19              A.    I think it may have been for a prior -- for

       20   a prior year, if I remember correctly.

       21              Q.    Okay.   What about the Quote File, 10, item

       22   Number 10 on your list?

       23              A.    I can show that to you if you'd like to see

       24   that.

       25              Q.    Why don't you just pass over to me



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        1   everything you have and I can pull that out while you're

        2   doing it.      It may be easier.

        3                     So are these in numbered order?

        4             A.      No.     That would have been too easy.

        5             Q.      How am I going to find Number 10?

        6             A.      The Quote File is really simple.      It's

        7   listed as "Quote File" in blue, in the back here.          I

        8   don't remember where.

        9             Q.      Okay.     I find it then.

       10             A.      It's not that one, but one of these.         It

       11   will say "Quote File."

       12             Q.      Okay.     These materials were provided to you

       13   by the lawyers for Mount Vernon?

       14             A.      That's correct.     Yes.

       15             Q.      Okay.     And this is the manner that they

       16   were provided to you in?

       17             A.      I think they did a nicer job of providing

       18   them to me, but, yes, they were provided to me in a box,

       19   as well as also on a thumb drive.

       20             Q.      And this is their handwriting?

       21             A.      Yes, it is.

       22             Q.      In other words, the little stickies --

       23             A.      The -- the -- I should tell you the -- if

       24   you flip to the first page where the -- where the X is,

       25   that means that I've reviewed the information.




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        1             Q.    Okay.

        2             A.    So in the same way that we have here, you'd

        3   see a check mark with the yellow -- a yellow on it, like

        4   a highlighter.    That's -- that's me saying that I've read

        5   everything in there.

        6                   MR. GROSS:    Just for clarity, I think the

        7             question is:   The blue piece of paper; is that

        8             something we provided you or is that something you

        9             added yourself to that document?

       10             A.    You -- the attorneys provided the blue

       11   piece of paper for me.

       12   BY MR. STEWART:

       13             Q.    The headers of what?     The sections?

       14             A.    Everything, yes.

       15             Q.    And who did the highlighting on these?

       16             A.    I did the highlighting on everything.

       17             Q.    Okay.    Now, you reviewed something called

       18   the Plaintiff's Motion for Remand and Incorporated

       19   Memorandum of Law, correct?

       20             A.    That's correct.

       21             Q.    Document 5 in this case.      And you've got a

       22   sticky on Page 4, but with no note on it.        Any particular

       23   reason?

       24             A.    Not that I recall.

       25             Q.    Okay.    And then have you've got a sticky on




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        1   Page 5.    "Report and two endorsements" -- I'm not sure --

        2   I can't right quite read it.       And you may not be able to

        3   read it upside down.

        4             A.     I was going to put that in the report.

        5   This is something that I would put in my report, and

        6   there were two endorsements that were listed there.

        7             Q.     I see.   So just you were using this for the

        8   purpose of recognizing there were two endorsements?

        9             A.     That's correct.

       10             Q.     And then a third --

       11             A.     As -- as I went through each one of those.

       12   That's correct.

       13             Q.     And a third one on Page 6 of that document?

       14             A.     Yes.

       15             Q.     And then you've got a star next to

       16   something called "Exclusion Mechanical Rides."          Any

       17   reason that there's a star, other than it's an except --

       18   it's an exclusion that's being claimed in this case?

       19             A.     It would be an exclusion that I saw myself,

       20   that I believed what I wanted to investigate further and

       21   figure out whether it was a termination, whether --

       22   remember, I only -- I was reading this -- these

       23   documents, I believe, in the order that -- that we're

       24   looking at right now.      So I didn't have all of the

       25   information and I wanted to get all of the information




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        1   read before I drew any conclusions whatsoever.          So that

        2   was just a way to mark it.

        3             Q.     Okay.   There's a sticky on the exclusion

        4   regarding participation in athletic activities, physical

        5   activity or sports.

        6                    MR. STEWART:    And by the way, they didn't

        7             do this right in the last deposition.        It is

        8             "athletic activities, physical activities or

        9             sports."   No comma.     And they keep putting the

       10             comma in, because that's how I think that -- how

       11             they speak -- how we speak.      But anyway, they may

       12             not have realized what we were doing.

       13   BY MR. STEWART:

       14             Q.     There's a sticky next to this one that

       15   says:   "Discuss with Aaron our -- or "and Mr. Gross.

       16   Super critical."

       17                    Is that -- did I read that correctly?

       18             A.     That's correct.

       19             Q.     Why is that super critical?

       20             A.     Because as I wrote in my report, I believed

       21   that Mr. Reed was -- or O'Quan Reed was swimming, and

       22   that there was an absolute exclusion on this policy for

       23   anything related to sport or athletic activity or

       24   physical activity.

       25             Q.     Okay.   So that's why that's super critical?



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        1             A.     Yes.

        2             Q.     And then you've got a sticky next to Page,

        3   it looks like 7 of 16 of some policy regarding medical

        4   payments Coverage C.        Is that because it discusses

        5   athletics?

        6             A.     It does.

        7             Q.     And is that why you have a sticky?

        8             A.     I do.

        9             Q.     Okay.     Then you've got a sticky next to --

       10   again, that same mechanical ride exclusion, on a

       11   different page.

       12                    Any reason why it was tagged twice, other

       13   than it's one of the exclusions that we're discussing in

       14   this case?

       15             A.     No.     Unfortunately, you'll see that as you

       16   go through the rest of these, that I've -- that I've

       17   tagged many of things over and over again.         That's my way

       18   of remembering.

       19             Q.     Okay.     And then you've got a sticky that

       20   says:   "Not applicable to this case.       Trampoline or

       21   rebounding device exclusion."

       22                    Why is it that you felt like the trampoline

       23   or rebounding device exclusion was not applicable to this

       24   case?

       25             A.     Well, it was before I figured out what,




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        1   ultimately, a zip line does.          But I've realized a

        2   trampoline -- well, he wasn't on a trampoline when he

        3   drowned.        That's very clear.    We all know that.

        4                       And, but I didn't understand what a

        5   rebounding device was at that time until I began to

        6   understand what -- what, you know, what happens on a

        7   rebounding device, where it goes from one place to

        8   another and back and forth.          So then that's why I listed

        9   it that way.

       10              Q.       You can see that that's your weakest

       11   argument in this case, correct?

       12                       MR. GROSS:    Form.

       13              A.       I wouldn't say it's the weakest argument.

       14   I would say that there are stronger arguments.

       15   BY MR. STEWART:

       16              Q.       I'll let you explain to the Judge the

       17   difference between that, those two statements, but be

       18   that as it may.

       19                       You've been in the insurance field since

       20   1993.   So over 20 years?         Am I doing the math right?

       21              A.       I'm -- I'm almost getting towards 23, yes.

       22              Q.       Towards 23.    Okay.   And in all that time,

       23   you haven't had to deal with the definition of

       24   "rebounding device"?

       25              A.       Not in terms of a loss itself, I've not had




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        1   that come up before, no.

        2             Q.     In terms of a loss itself, have you dealt

        3   with the issue of athletic activity, physical activity or

        4   sport?

        5             A.     Yes.

        6             Q.     And on how many occasions?

        7             A.     Probably three occasions over my career.

        8             Q.     And on those three occasions did the

        9   exclusion preclude coverage?

       10             A.     On every one it did, yes.

       11             Q.     What were the three events?      How was the

       12   person injured?

       13             A.     One was, I believe, playing a baseball

       14   game.    One was playing a soccer game, if I remember

       15   correctly.     Football, like -- I forget how you call it,

       16   but a football where everybody kind of gets together and

       17   plays a --

       18             Q.     A flag football game?

       19             A.     A flag football game, yes, a flag football

       20   game.

       21             Q.     Okay.   And then the last exclusion, have

       22   you dealt with claims made on the mechanical or that

       23   were -- that there was an issue of whether there was a

       24   mechanical ride or riding device?

       25             A.     No.




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        1              Q.       Okay.     Did I get the words right?        I mean,

        2   I don't want to mince words with you.

        3              A.       You did.     You did.     That's correct.

        4              Q.       Okay.     Sometimes it's -- it's called

        5   mechanical ride or riding device.              I sometimes say

        6   mechanical device.           But anyway, you know what I mean.

        7              A.       Yes.

        8              Q.       Okay.     And then you've tagged the "athletic

        9   activity, physical activity or sports."

       10                       Again, any other reason why it's tagged

       11   again, other than it showed up again?

       12              A.       Well, I believe that that was a prevalent

       13   activity that Mr. Reed was involved in at that time, was

       14   swimming or physical activity.              So that's why -- you'll

       15   see I've flagged that again and again.              So you'll see

       16   that further more.

       17              Q.       And then the last tag says:        "Not

       18   applicable as" something "in my opinion."              I can't quite

       19   read it.        I'm sorry.

       20              A.       "As defense in my opinion."

       21              Q.       And "defense" meaning?

       22              A.       As in writing my report or thinking about

       23   what was going on here.           That was having to do with the

       24   way that the rebounding was written, and we discussed

       25   that just a few moments ago.




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        1              Q.    Okay.   And, again, that's the climbing,

        2   rebounding, and interactive games and device exclusion,

        3   correct?

        4              A.    Yes, it is.

        5              Q.    Okay.   In the binder, if you will, or clip

        6   that's titled "Underwriting" you have some -- some

        7   stickies.

        8                    On the first one you have a sticky on a

        9   memorandum from USLI to Genesee, G-E-N-E-S-E-E, General,

       10   from Kristy Mitchell at USLI and it discusses -- it looks

       11   like maybe it's an e-mail or some communication

       12   method where they're following up on items that still

       13   need to be answered, and you have a sticky on it

       14   called -- that says "discuss."

       15                    Is that because of the highlighted term

       16   "water hazards"?

       17              A.    Yes.

       18                    MR. GROSS:    Form.

       19   BY MR. STEWART:

       20              Q.    Anything else with regard to this note that

       21   you felt like you needed to discuss?

       22              A.    There may have been something in there

       23   about overnight camping, but I don't recall.

       24              Q.    That didn't make it into your report or

       25   opinions, correct?



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        1             A.     It did not.    No, it did not.

        2             Q.     And "discuss" means --

        3             A.     I apologize, but can I ask you to put the

        4   air on again, maybe.

        5                    MR. GROSS:    I can go.

        6             A.     I'm sorry.    It just keeps getting shut off.

        7                    (Brief recess.)

        8   BY MR. STEWART:

        9             Q.     Okay.   My question was:     Is this note to

       10   discuss, meaning you need to discuss it with the

       11   attorneys?

       12             A.     That's correct.

       13             Q.     And what was it about water hazards that

       14   you felt like you needed to discuss with the attorneys?

       15             A.     That -- if I recall, they did not answer --

       16   I'm talking about Bow Down did not answer on their

       17   application the response as to water hazards or not.            In

       18   other words, they had that circled, "water hazards."

       19             Q.     Do you have the application actually

       20   separated out?     Do you know?

       21             A.     It's somewhere in this file.      I hate to say

       22   it that way.

       23                    Do you know where would it be?

       24             Q.     I thought it would be in the claim file,

       25   but maybe the quote?



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        1                    MR. GROSS:    Quote or maybe Underwriting.

        2                    MR. STEWART:    Yeah, I don't -- I don't see

        3             something called Underwriting, unless --

        4                    MR. GROSS:    That's what it is.

        5                    MR. STEWART:    All right.     That's where I

        6             am.

        7                    MR. GROSS:    This looks like Quotes.

        8                    MR. STEWART:    You don't have any Bate

        9             stamps?

       10                    MR. GROSS:    Unfortunately, no.      That was

       11             before production.

       12   BY MR. STEWART:

       13             Q.     All right.    Why don't you show me in this
       14   document -- this clip, which is yours, that's called

       15   "Underwriting," where the application is.

       16                    I'm looking for an actual application that
       17   is signed by Bow Down.
       18                    You wouldn't rely on an unsigned

       19   application, would you?       Sir, that's my question.

       20             A.     No.

       21             Q.     Okay.

       22             A.     But I would rely upon what an insured told

       23   me to tell an insurance carrier from a primary

       24   application.

       25                    I don't have that.



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        1             Q.     Okay.   So, as we sit here, you have

        2   formulated opinions in which -- strike that.
        3                    You have formulated opinions in this case

        4   without having a signed application from Bow Down,

        5   correct?
        6             A.     I have --

        7                    MR. GROSS:    Form.

        8   BY MR. STEWART:

        9             Q.     I didn't hear you.      I'm sorry.
       10             A.     Oh, wait.    Yes, I have.

       11             Q.     You have seen --

       12             A.     No, I have -- you -- you are correct.

       13             Q.     Okay.   In your report, you have indicated
       14   that there were material misrepresentations by Bow Down

       15   to either Mount Vernon or USLI, however you want to

       16   phrase it.     Is that based upon the unsigned application?
       17                    MR. GROSS:    Form.

       18             A.     Yes, it is.

       19   BY MR. STEWART:

       20             Q.     Okay.   And why did you rely upon an
       21   unsigned application?

       22             A.     Because nobody ever produced me a signed

       23   application.

       24             Q.     Okay.   When you realized that you did not
       25   have a signed application -- well, let me ask that



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        1   question first.

        2                    Did you ever realize you didn't have a

        3   signed application?

        4              A.    I realized I had, I believe, a supplemental

        5   signed application.      I can't remember which one it was,

        6   whether I had the primary application signed or the

        7   supplemental application signed, but one of those two

        8   applications was signed by Bow Down.

        9              Q.    Okay.   Were you able to find that in the

       10   materials that you just looked at?

       11              A.    I don't recall.

       12              Q.    Do you want to look at it again?

       13              A.    No.

       14              Q.    You don't recall seeing it in here, do you?

       15              A.    No.

       16              Q.    So, as we sit here today, you have not

       17   reviewed any documents that were signed by Bow Down,

       18   correct?

       19                    MR. GROSS:   Form.

       20              A.    Correct.

       21   BY MR. STEWART:

       22              Q.    Now, this first sticky note on the

       23   January 28, 2011 memorandum from Genesee General to Adam

       24   Forrester -- I'm sorry -- to Adam Forrester at Genesee

       25   General from Kristy Mitchell at USLI, it indicates that



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        1   they need some answers to some questions related to the

        2   policy or the binder?

        3              A.       The policy.

        4              Q.       Sir, I'll ask you to read what this first

        5   sentence says after "we need your help," and tell me

        6   whether or not the information that person was trying to

        7   gather related to the binder.

        8              A.       "Thank you for the order to bind on this

        9   account.        As indicated on our quote, the following is

       10   required prior to binding."

       11              Q.       All right.    So that would be information

       12   that they were seeking in order to prepare the binder,

       13   correct?

       14              A.       Yes.

       15              Q.       All right.    With regard to water hazards,

       16   did you make any effort at all to research the definition

       17   of the term "water hazards"?

       18              A.       No, I did not.

       19              Q.       Okay.   Why not?

       20              A.       Because I believed I understood what a

       21   potential water hazard was.

       22              Q.       Well, it doesn't say "potential water

       23   hazard," it says "water hazard," correct?

       24              A.       Yes.

       25              Q.       All right.    Do you play golf?



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        1             A.     Infrequently, but yes.

        2             Q.     All right.    More often than I do.
        3                    Do you understand the term "water hazard"

        4   when it refers to a golf course?

        5             A.     Yes.

        6             Q.     Now, this also talks about firearms and
        7   hunting.    Do you have any information that the folks at

        8   Bow Down who went out there were going to participate in

        9   firearms or hunting?
       10             A.     None at all.

       11             Q.     And with regard to overnight camping; is

       12   the risk that is being insured against the issues that

       13   can arise when someone sleeps outdoors, for instance, in
       14   a tent?

       15             A.     Yes.

       16             Q.     Any others?
       17                    MR. GROSS:    Form.

       18             A.     Wild animals.

       19   BY MR. STEWART:

       20             Q.     Well, that would be a risk of sleeping
       21   outdoors.

       22             A.     Yes.

       23             Q.     The risk is you're outdoors and you're
       24   exposed to whatever is out there?
       25             A.     That's correct.



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        1             Q.      Nothing else that you can think of?

        2             A.      No.

        3             Q.      Okay.   Moving on through your underwriting

        4   binder, if you will, or section, once again, we have an

        5   e-mail from, it seems like the same date,

        6   January 28, 2011 -- yeah -- and it asks to -- its from

        7   Kristy Mitchell, same person as the one we just -- the

        8   memorandum that we just discussed.        It's sent to Paula

        9   Price, instead of Adam Forrester like the previous one.

       10   And it has some questions that it is asking, correct?

       11   Just so we can...

       12             A.      Yes, that's correct.

       13             Q.      And I'm trying to finish my question,

       14   because it started to get long.

       15                     Included in those you've highlighted "water

       16   hazards."      Same reason?

       17             A.      Yes, that's correct.

       18             Q.      Okay.   And it looks like Paula Price is

       19   with Genesee General, correct?

       20             A.      Yes, it seems exactly that way.

       21             Q.      Okay.   So once again, this is a

       22   conversation going on between USLI and the -- what did

       23   you call them?

       24             A.      The wholesale brokerage firm.

       25             Q.      Wholesale brokerage firm, discussing the



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        1   issues about this policy, correct?

        2             A.     Yes, that's correct.

        3             Q.     No discussion with Gary Baker's office or

        4   Bow Down about these issues, correct?

        5                    MR. GROSS:     Form.

        6             A.     Not that I was given information about.

        7   BY MR. STEWART:

        8             Q.     Okay.   And you also have a sticky next to

        9   an unsigned United States Liability Insurance Group

       10   Supplemental Application.        And it looks like somebody

       11   started to fill it in.        And you have highlighted "off

       12   premises activities" and "day trips."

       13                    Is that because you felt like both of

       14   these, both of these -- is that because you felt like

       15   this event qualified as both an off premise activity and

       16   a day trip?

       17                    MR. GROSS:     Form.

       18             A.     Yes, I did.

       19   BY MR. STEWART:

       20             Q.     Okay.   Sir, the question that starts out

       21   with all of the categories is:          "Circle all services that

       22   apply," and then it says:        "Provide detail for each."

       23                    Tell me what that means.

       24                    MR. GROSS:     Form.

       25             A.     Well, if you were going to an amusement




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        1   park, as an example, and you would call that a day trip.

        2   So a day trip you might write next to it a trip to an

        3   amusement park or something like that, or a trip to the

        4   zoo, or something to that effect.

        5   BY MR. STEWART:

        6              Q.    Okay.   I'm focusing on the word "services."

        7   What does that mean to you in the insurance business on

        8   an application?

        9              A.    I'm having a tough time with the word.

       10   I -- I look at it more as an activity as opposed to a

       11   service.

       12              Q.    You think that in this application it would

       13   have been clearer if it had said "circle all activities

       14   that apply and provide details for each"?

       15                    MR. GROSS:   Form.

       16              A.    Yes.

       17   BY MR. STEWART:

       18              Q.    Okay.   All right.    We'll go ahead and mark

       19   this as three.     And then...

       20                    (Plaintiff Exhibit No. 3 was marked.)

       21   BY MR. STEWART:

       22              Q.    All right.   Moving on to the quote section,

       23   you've got something in here where you've highlighted

       24   under the quote -- let me keep it all together.

       25                    Is this document what you would consider



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        1   the quote?

        2              A.    This would be the quote from USLI to

        3   Genesee General.        It's not the actual quote to Bow Down,

        4   Incorporated.

        5              Q.    Did you ever see an actual quote to Bow

        6   Down?

        7              A.    Not that I recall.

        8              Q.    You would expect to see that, wouldn't you?

        9              A.    Yes.

       10              Q.    So the documents -- and I'll be happy to

       11   let you go through them -- that you have in the section

       12   called "Quote" that we'll mark as Number 4, those are

       13   documents passed between either USLI or Mount Vernon and

       14   on the other hand, Genesee General, correct?

       15                    And take your time.     You have a few to

       16   review.

       17              A.    Yes, you are correct.

       18              Q.    And go ahead and put that back together and

       19   stick it right over here so that the court reporter can

       20   have it.

       21              A.    I think I flipped it upside down.

       22                    (Plaintiff Exhibit No. 4 was marked.)

       23   BY MR. STEWART:

       24              Q.    Sir, you would agree -- well, isn't it true

       25   that if Mount Vernon wanted to exclude zip lines



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        1   specifically, they could have written "zip lines" in

        2   their policy, correct?

        3                    MR. GROSS:   Form.

        4              A.    They could have written that as a

        5   particular exclusion; that's correct.

        6   BY MR. STEWART:

        7              Q.    And they chose not to do that, correct?

        8              A.    It's not in there, so you -- you are

        9   correct.

       10              Q.    If they wanted to exclude swimming, they

       11   could have done that, correct?

       12                    MR. GROSS:   Form.

       13              A.    I think that's a very different instance.

       14   I think that you would have to list all of the different

       15   particular sporting activities that exist, and then list

       16   swimming as one of those activities.        You could list

       17   baseball, football, soccer, golf, or hockey or -- you

       18   could go on and on and on -- you know, Ping-Pong,

       19   swimming.

       20   BY MR. STEWART:

       21              Q.    All of the activities you've listed, other

       22   than swimming, are activities that are done in a

       23   competitive way, regardless of -- well, scratch that.

       24                    All of the activities that you have listed

       25   are activities that are done in a setting where there are



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        1   teams competing against each other, correct?

        2              A.    Not always, no.    Like, for example, in

        3   golf, people play golf by themselves sometimes where

        4   they're not competing against anybody but themselves.

        5              Q.    There's still a competition going on,

        6   correct?

        7              A.    Yes.

        8              Q.    Swimming doesn't necessarily have to be a

        9   competition, correct?

       10              A.    No, it does not.

       11              Q.    Someone can be swimming and not

       12   participating in a sport, correct?

       13              A.    I think swimming is considered a sport.

       14              Q.    That's not what I asked you.      I asked you

       15   whether or not someone swimming is always a sport.

       16              A.    I don't understand the term "sport" then.

       17              Q.    That's a good admission.

       18                    As an insurance broker since 1993, you have

       19   never come to an understanding of what the word "sport"

       20   means?

       21              A.    I have, and I consider swimming to be a

       22   sport.

       23              Q.    Okay.   So any time someone is in the water

       24   and treading water, they are at -- they are participating

       25   in a sport, in your definition?



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        1                    MR. GROSS:   Form.

        2              A.    Yes, they are, as well as in a physical

        3   activity.

        4   BY MR. STEWART:

        5              Q.    I didn't ask you about a physical activity.

        6   We'll get to that in a minute.

        7                    What you're saying to the Court is that any

        8   time anyone is in the water and staying above water

        9   somehow, that they are participating in a sport, in your

       10   opinion?

       11              A.    Yes.

       12              Q.    So a child that is learning how to swim and

       13   is dog paddling across the pool and barely making it to

       14   the edge to grab on, they're participating in a sport?

       15              A.    Clearly, yes.

       16              Q.    If Mount Vernon had wanted to, they could

       17   have excluded from this policy participating in any lakes

       18   or ponds, correct?

       19                    MR. GROSS:   Form.

       20              A.    Yes.

       21   BY MR. STEWART:

       22              Q.    And they chose not to, correct?

       23              A.    Correct.

       24              Q.    Now let's talk about physical activity.

       25   Well, let me back up and ask you about athletic activity



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        1   first.

        2                    Do you consider any swimming also an

        3   athletic activity?

        4             A.     Yes, I do.

        5             Q.     How -- and do you consider any swimming a

        6   physical activity?

        7             A.     Yes, I do.

        8             Q.     Okay.   How do the terms "athletic activity"

        9   and "physical activity or sport" differ from each other,

       10   if at all, in your opinion?

       11                    MR. GROSS:   Form.

       12             A.     I prefer to give an example.

       13                    A physical activity could be walking down

       14   the street, and a sport could be actually swimming.

       15   BY MR. STEWART:

       16             Q.     Okay.   We may disagree and the Court may

       17   have to make this determination, but the policy was

       18   written this way:

       19                    "Physical activity" comma -- I'm sorry.

       20   "Athletic activity, physical activity" -- no comma -- "or

       21   sport," correct?

       22             A.     Yes.

       23             Q.     So there's no separation between "physical

       24   activity or sport," correct?

       25             A.     Correct.




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        1             Q.     And it would have a different meaning if

        2   there was a comma in there between "physical activity, or

        3   sport," correct?

        4                    MR. GROSS:     Form.

        5             A.     Yes, it would.

        6   BY MR. STEWART:

        7             Q.     All right.     So what is happening is "sport"

        8   and "physical activity" are modifying each other, are to

        9   be read in conjunction, correct?

       10                    MR. GROSS:     Form.

       11             A.     Yes, but I believe both of those things

       12   were occurring in this particular instance.

       13                    MR. STEWART:     I'll ask you to answer my

       14             question, and I'll move to strike the

       15             nonresponsive portion.

       16   BY MR. STEWART:

       17                    My question is:        "Physical activity or

       18   sport" in this context are modifying and -- modifying

       19   each other and to be used in conjunction, correct?

       20                    MR. GROSS:     Form.

       21             A.     Yes.

       22   BY MR. STEWART:

       23             Q.     Okay.   Now, you said a minute ago that -- I

       24   think you said, and correct me if I'm wrong, I may have

       25   gotten it a little wrong -- but I think you said that



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        1   walking could be a physical activity, but swimming could

        2   be a sport, correct?

        3              A.    Yes.

        4              Q.    Okay.    And is that not the example that you

        5   gave us?

        6              A.    I did.

        7              Q.    I just wanted to make sure I got it right.

        8   I didn't write it down.

        9                    And so, what you're telling me is that

       10   there are instances where walking --

       11                    You do recognize that walking is an Olympic

       12   sport, correct?

       13                    MR. GROSS:    Form.

       14              A.    Yes, it is.

       15   BY MR. STEWART:

       16              Q.    And you recognize that there are instances

       17   where people are walking where they're not participating

       18   in a sport, correct?

       19              A.    Yes.

       20              Q.    Give me an example of somebody walking

       21   where they're not participating in a physical activity or

       22   sport.

       23                    MR. GROSS:    Form.

       24              A.    Somebody walking to their car from the

       25   front door.




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        1   BY MR. STEWART:

        2             Q.     Okay.   And why is it that that would be
        3   distinguished from some sporting-use of the word "walk"?

        4             A.     Because often people think of a

        5   sporting-walk as somebody trying to maybe lose weight or

        6   build up their heart rate and so forth.

        7             Q.     So, if an individual was not interested in

        8   competing with anybody, was not participating in any

        9   organized activity but just went out for a walk for
       10   exercise, you consider that to be a physical activity or
       11   sport?

       12             A.     Absolutely.

       13             Q.     Why?
       14             A.     Well, it is a physical activity because

       15   they're -- they're -- they're -- they're walking along;

       16   that's a physical activity.

       17             Q.     Okay.
       18             A.     And -- and we don't know whether that

       19   person was trying to lose one pound or something like

       20   that by the walk that they're taking.

       21             Q.     So now you're separating out the term

       22   "physical activity" away from "sport," correct?

       23                    MR. GROSS:    Form.

       24             A.     Yes.

       25



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        1   BY MR. STEWART:

        2              Q.    All right.    So if I hear you correctly, any

        3   time someone's doing something they're involved in

        4   physical activity, correct?

        5                    MR. GROSS:    Form.

        6              A.    If you're sleeping and breathing, I don't

        7   believe you're involved in a physical activity.

        8   BY MR. STEWART:

        9              Q.    Good point.    Okay.   Beyond that, under this

       10   policy, everything else would be a physical activity,

       11   correct?

       12              A.    I know that what O'Quan Reed was doing was

       13   a physical activity.

       14              Q.    Not my question.

       15                    Would you read back my question.

       16                    (Whereupon the above-requested portion of

       17   the transcript was read back as above recorded.)

       18              A.    Yes.

       19   BY MR. STEWART:

       20              Q.    Okay.   If Mount Vernon wanted to exclude

       21   hunting or use of firearms from this -- from coverage in

       22   this policy, they could have written that in this policy,

       23   correct?

       24                    MR. GROSS:    Form.

       25              A.    That's correct.




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        1   BY MR. STEWART:

        2              Q.    And they chose not to do that, correct?

        3              A.    That's correct.

        4              Q.    Now, you would agree that a policy must be

        5   clear about what it covers and what it does not cover,

        6   correct?

        7              A.    Yes.

        8              Q.    And if it cannot be determined whether

        9   something is covered until after an incident occurs, then

       10   that's not a clear policy, correct?

       11                    MR. GROSS:   Form.

       12              A.    It's subject to the Court's interpretation.

       13   BY MR. STEWART:

       14              Q.    Okay.   Let me ask you this -- let me ask it

       15   this way, because it may have been a little bit

       16   confusing.

       17                    If there's a policy and it can't -- someone

       18   can't determine whether or not an incident is covered

       19   until after the incident occurs and they know all the --

       20   you know, know exactly what happened, you can't determine

       21   ahead of time what good is a policy for an insured if

       22   they can't tell what's covered and what's not?

       23                    MR. GROSS:   Form.

       24              A.    As an insurance agent for 23 years -- 22

       25   plus years, I can tell you that there are multiple




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        1   instances where we don't know what is going to be covered

        2   until after a claim occurs.       And so, I wouldn't call it

        3   an unclear -- pardon the lack of proper English -- an

        4   unclear policy.

        5   BY MR. STEWART:

        6              Q.    Do you think it is appropriate for you to

        7   sell an insurance policy when an insured reads it and has

        8   to decide whether they're going to do a certain activity,

        9   and they can't tell whether it's cover covered or not

       10   from reading the policy?      Do you think that's

       11   appropriate?

       12                    MR. GROSS:   Form.

       13              A.    No.

       14   BY MR. STEWART:

       15              Q.    All right.   So you would agree with me that

       16   when an insured reads their policy, they need what is

       17   covered and what's not covered, correct?

       18              A.    Yes.

       19              Q.    All right.   So if an insured reads the

       20   policy and can't figure out whether or not a particular

       21   activity is covered or not; that policy is unclear,

       22   correct?

       23                    MR. GROSS:   Form.

       24              A.    To the insured, but not necessarily to the

       25   Courts.




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        1   BY MR. STEWART:

        2             Q.     I'm not asking about the Court.        It's the
        3   insured that reads the policy to figure it out, because

        4   it's between the insured and the insurer, correct?

        5             A.     Yes.

        6             Q.     All right.    So the policy needs to be
        7   written in such a -- well, you know that policies should

        8   be written in plain English, correct?

        9             A.     Yes.

       10             Q.     And they should be written so insureds can
       11   understand them, not just Courts, correct?

       12                    MR. GROSS:    Form.

       13             A.     Correct.

       14   BY MR. STEWART:

       15             Q.     So you would agree, would you not, that an

       16   insurance policy that when the insured reads it and they
       17   can't figure out whether or not a particular activity is
       18   covered or not, that insurance policy is unclear,

       19   correct?

       20                    MR. GROSS:    Form.

       21             A.     It has the potential to be unclear to the

       22   insured, correct.

       23   BY MR. STEWART:

       24             Q.     But that's who it's written for, correct?
       25             A.     Yes.



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        1                    MR. GROSS:     Form.

        2   BY MR. STEWART:

        3             Q.     You also know that policies -- policy

        4   exclusions must be liberally construed in favor of

        5   coverage and strictly against an insurer, correct?

        6                    MR. GROSS:     Form.

        7             A.     Yes, according to what I understand.

        8                    MR. STEWART:     What was wrong with the form?

        9                    MR. GROSS:     I think it calls for a legal

       10             conclusion.

       11   BY MR. STEWART:

       12             Q.     So when the -- when one is interpreting

       13   this policy, they're going to take the terms and

       14   conditions under each one of these exclusions and

       15   construe them in favor of coverage, correct?

       16                    MR. GROSS:     Form.

       17             A.     If there is lack of clarity, yes.

       18   BY MR. STEWART:

       19             Q.     Okay.   And if one were to take these

       20   three -- when one takes these three exclusions, in

       21   addition to construing them in favor of coverage, they're

       22   also going to strictly construe them against Mount

       23   Vernon, correct?

       24                    MR. GROSS:     Form.

       25             A.     I can't determine what the Court's going to




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        1   do.

        2   BY MR. STEWART:

        3              Q.    Okay.   As an insurance agent, do you

        4   understand the law of Florida regarding insurance?

        5              A.    Yes.

        6              Q.    Do you understand that when you're looking

        7   at an exclusion and determining whether or not it

        8   applies, you not only liberally construe it in favor of

        9   coverage, but you also strictly construe it against the

       10   insurer, correct?

       11                    MR. GROSS:   Form.

       12              A.    Yes.

       13   BY MR. STEWART:

       14              Q.    So when we are -- when an insurance agent

       15   such as yourself, as an expert, is looking at this case

       16   in this claim and you're looking at these exclusions, you

       17   are strictly construing them against Mount Vernon,

       18   correct?

       19              A.    I'm reading them as they're written.        I'm

       20   not construing them against Mount Vernon.

       21              Q.    You have to make a determination in this

       22   case what the words in the policy means, because they

       23   didn't prohibit swimming specifically, correct?

       24                    MR. GROSS:   Form.

       25              A.    They prohibited sports or physical




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        1   activities.

        2   BY MR. STEWART:

        3              Q.    Sir, you have to construe what any of the

        4   other words, including sports -- or "physical activity or

        5   sports" or "athletic activity" means, because Mount

        6   Vernon didn't define swimming as a prohibited activity,

        7   correct?

        8              A.    Correct.

        9              Q.    And when you construe those terms, all of

       10   the terms in the policy, you need to strictly construe

       11   them against Mount Vernon, correct, the exclusions,

       12   correct?

       13              A.    No.

       14              Q.    Why not?

       15              A.    Because I believe that the -- the

       16   exclusions were clearly written as to define what was --

       17   as I said before, you're not going to list every single

       18   sport or physical activity or athletic activity that

       19   exists.     That's why.

       20              Q.    Okay.    When a -- when a person is in a lake

       21   and they're touching their feet on the ground and they're

       22   walking along but they're chest deep in the water, is

       23   that swimming under this policy -- no -- strike that.

       24                    Is that a physical activity or sport under

       25   this policy?



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        1             A.     Yes.

        2             Q.     Okay.   If someone is walking along in the
        3   lake with water up to their chest and they are just

        4   walking, is that a sport under this policy?

        5             A.     Yes.

        6             Q.     At what point does walking in a lake cease
        7   being a sport?

        8                    MR. GROSS:    Form.

        9   BY MR. STEWART:

       10             Q.     If ever?
       11             A.     None that I can think of.

       12             Q.     You would agree -- scratch that.

       13                    Isn't it true that O'Quan Reed died from
       14   drowning?

       15             A.     My understanding from reading the police

       16   report is that's exactly what happened.

       17             Q.     He didn't die from the zip line, correct?
       18             A.     We don't know.

       19             Q.     You have no evidence that he died from the

       20   zip line, correct?
       21             A.     Only that I just read a little while ago

       22   that four people testified that he was -- had dropped

       23   from the zip line, that were deposed.

       24             Q.     Now we're talking something else that you
       25   looked at that you didn't tell me about at beginning of



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        1   the deposition.

        2              A.     I -- I did.     We -- we produced them.

        3              Q.     You produced those depositions?      Where are

        4   they?

        5              A.     No, the -- what were the documents?

        6                     MR. GROSS:     He's referring to the summary

        7              judgment that you have.

        8                     MR. STEWART:     Oh.

        9                     MR. GROSS:     He told you just a few minutes

       10              ago.   It's not part of his opinion, but for

       11              clarity.

       12   BY MR. STEWART:

       13              Q.     Okay.

       14              A.     I didn't read anybody's deposition.

       15              Q.     I gotcha.     Fair enough.

       16                     So what you read is the excerpts of

       17   depositions that the lawyers representing Mount Vernon

       18   selected in -- to incorporate in a document they filed

       19   with the Court, correct?

       20              A.     That's correct.

       21              Q.     You don't know whether what they said later

       22   on in the deposition contradicted that information,

       23   correct?

       24              A.     I have no knowledge of any of that.

       25              Q.     And in formulating your opinions in this



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        1   case, you had no evidence that O'Quan Reed died as a

        2   result of the zip line, correct?

        3             A.     No, but he died as a result of swimming.

        4             Q.     So just so it's clear on the record, I am

        5   correct in my statement that you have no evidence that he

        6   died as a result of zip-lining, correct?

        7             A.     Correct.

        8             Q.     Okay.   I just want to make -- you said "no"

        9   and I didn't -- sometimes that comes out weird.

       10                    MR. GROSS:   Form.

       11             A.     Sure.

       12   BY MR. STEWART:

       13             Q.     I hate myself when I get back to the office

       14   and I read it and it looks terrible.

       15                    Do you consider zip-lining a sport?

       16             A.     Yes.

       17             Q.     Why?

       18             A.     Just because that's what I believe.

       19             Q.     But you have no basis for it, other than

       20   your own self-taught knowledge of zip-lining?

       21             A.     That's correct.

       22             Q.     All right.   What is your knowledge of

       23   zip-lining?

       24             A.     My knowledge of zip-lining is that a --

       25   you're in a harness, and it traverses from one place to




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        1   another to another to another sometimes, it depends on

        2   how many there, and it goes back to the original one

        3   sometimes and sometimes it doesn't.        And that's typically

        4   how zip-lining works.

        5             Q.     Okay.   And so do you have to be in a

        6   harness to be zip-lining?

        7             A.     You probably do not.

        8             Q.     Okay.   Have you ever zip lined?

        9             A.     No.

       10             Q.     So your experience has been, what, reading

       11   books about zip-lining?

       12                    MR. GROSS:    Form.

       13             A.     I've been on cruise ships where people have

       14   told me that they've gone zip-lining.         That's my

       15   knowledge of zip-lining.

       16   BY MR. STEWART:

       17             Q.     When they go on excursions off the boat?

       18             A.     Yes.

       19             Q.     How many occasions?

       20             A.     I don't know.    I've been on 15 cruises, so

       21   I've heard it many times.

       22             Q.     Okay.   So, if I'm hearing you correctly,

       23   your knowledge of zip lines is secondhand from others who

       24   have done it?

       25             A.     Yes, it is.




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        1             Q.     Any other knowledge of zip-lining?

        2             A.     None at all.

        3             Q.     Okay.   Are you aware of any zip-lining

        4   associations that have competitions?

        5             A.     No, I'm not.

        6             Q.     Other than walking -- which you said

        7   walking to your car, you gave earlier, can you name any

        8   claims where someone would be injured that are not a

        9   physical activity or sport?

       10             A.     I said sleeping I don't consider to be a

       11   physical activity.

       12             Q.     You said that already, and I apologize, I

       13   should have put that in my question and I didn't.

       14                    So other than sleeping or walking to your

       15   car, can you name any other activities that you would

       16   define as a physical activity or sport under the policy?

       17             A.     No, I cannot.

       18                    MR. GROSS:     Form.

       19   BY MR. STEWART:

       20             Q.     Now let's talk about the water hazard for a

       21   minute.

       22                    I assume that the reason that you

       23   highlighted it and tagged it in your materials is because

       24   you felt like this lake, or pond, or whatever you want to

       25   call it, was a water hazard; fair statement?



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        1             A.     Yes.

        2             Q.     Okay.   How would you define, under your

        3   terms, what a water hazard is?

        4             A.     Any body of water --

        5             Q.     Okay.

        6             A.     -- whatsoever, or even something as simple

        7   as a sink could be a water hazard to somebody.

        8             Q.     Okay.   Now, when someone is participating

        9   in an activity under this policy, how do you determine

       10   when that person is no longer participating in that

       11   activity?

       12             A.     I would say when they go to rest or stop

       13   whatever it is that they're doing.

       14             Q.     Okay.   So for instance, if somebody was on

       15   the merry-go-round on this property, and they got off the

       16   merry-go-round and started walking to go over to the

       17   slide; at what point in that transition, or before or

       18   after it, have they stopped merry-go-rounding?          If that's

       19   a word.

       20                    MR. GROSS:   Form.

       21             A.     At the point which they got off the

       22   merry-go-round.

       23   BY MR. STEWART:

       24             Q.     So if someone was zip-lining in this -- on

       25   this pond, when would they stop zip-lining?



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        1             A.     When they were no longer in contact with

        2   the zip line.

        3             Q.     Okay.   What do you mean by that?

        4             A.     Well, for example, Mr. Reed was apparently

        5   attempting to grab the handle of the zip line when he

        6   drowned.

        7             Q.     Okay.

        8             A.     Whether he dropped off the zip line or

        9   didn't drop off the zip line, I don't know.

       10             Q.     Okay.
       11             A.     But he was still involved in zip-lining at

       12   that time.

       13             Q.     Okay.   So, in your opinion, if O'Quan Reed
       14   never used the zip line at all that day but swam out to

       15   grab what you termed "the handle," you believe that, in

       16   your definition under this policy, that that would be
       17   using the zip line?
       18             A.     Yes.

       19             Q.     Okay.   And --

       20             A.     Can we ask them to put the air on back.

       21   I'm sorry.

       22                    MR. STEWART:     I agree.

       23                    (Brief recess.)

       24   BY MR. STEWART:

       25             Q.     Okay.   If O'Quan Reed swam out with the



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        1   intent to grab the handle, as you called it, and drowned,

        2   and his drowning wasn't as a result of holding on to the

        3   handle, in your opinion, is that a result of the zip

        4   line?

        5              A.    Yes.

        6              Q.    If O'Quan Reed was just simply swimming in

        7   the lake past the handle, quote, unquote, of the zip

        8   line, is that zip -- use of the zip line, in your

        9   opinion?

       10              A.    No.

       11              Q.    So what I hear you saying is that if O'Quan

       12   Reed was intending upon grabbing the handle, as you've

       13   called it, of the zip line, whether he reached it or not,

       14   you believe that's use of the zip line, correct?

       15              A.    Yes.

       16                    MR. GROSS:   Form.

       17   BY MR. STEWART:

       18              Q.    Let's talk about rebounding devices.

       19                    Your opinion is that this -- this zip line

       20   was a rebounding device, correct?

       21              A.    Yes.

       22              Q.    And you base that upon what?

       23              A.    Again, secondhand knowledge of how they

       24   work; that they move from one place to another, and then

       25   go back to the other place.




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        1             Q.     So any item that moves from one place to

        2   the other and goes back is a rebounding device under this

        3   policy, in your opinion?

        4             A.     Within a certain category, yes.

        5             Q.     You're going to have to flesh that out for

        6   me.

        7             A.     Well, if you do bungee jumping, that's

        8   considered a rebounding device.        If you jump out of

        9   airplanes with a bungee cord, I would think that's a

       10   rebounding device.

       11                    And in this case, if he were to -- what we

       12   term "zip" from one to -- one place to another, like a

       13   perch to another, in -- in a -- with a device, that's

       14   considered a rebounding device.

       15             Q.     Why?

       16             A.     I can't specify exactly why something is

       17   called a rebounding device.

       18             Q.     I'm trying to figure out the characteristic

       19   of a -- a --

       20                    Rebounding, to me, indicates that it

       21   bounces back.     It's in the word.     It's the Latin root --

       22   the Latin root of bound is to come back.

       23                    How is zip-lining in any way, shape, or

       24   form -- this zip line -- coming back?

       25             A.     I don't know --




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        1                    MR. GROSS:   Form.

        2             A.     -- in this case what happened, but very

        3   often they go back to the place that they started from.

        4   BY MR. STEWART:

        5             Q.     Okay.   It's been described in this case

        6   that the way the zip line operates is someone goes down

        7   it, and after they go down it they physically return it,

        8   fast or slow, to the platform for the next person to use.

        9                    Is that what you're terming "the rebound";

       10   this person taking it back to the platform?

       11             A.     That's a form of rebounding.

       12             Q.     Okay.   And where do you get that definition

       13   from?

       14             A.     It's how I understand it to be.       That's

       15   only from my -- my -- my general knowledge.

       16             Q.     Okay.   And that begs the question of where

       17   you arrived at that general knowledge.

       18                    Have you ever read a book that had that

       19   contained within it?

       20             A.     No.

       21             Q.     Any articles that have that contained

       22   within it?

       23             A.     No.

       24             Q.     Have you ever read that anywhere that says

       25   that that type of apparatus, where someone physically



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        1   returns a zip line to the platform, that that causes it

        2   to be a rebounding device?

        3             A.     No.

        4                    MR. GROSS:    Form.

        5   BY MR. STEWART:

        6             Q.     Have you ever heard of the Alliance of

        7   Schools for Cooperative Insurance Programs?

        8             A.     I have not.

        9             Q.     The ASCIP; never heard of them?

       10             A.     I've never heard of them.

       11             Q.     Okay.   They issued a risk alert regarding

       12   rebounding devices, because some of their folks had some

       13   questions about what is a "similar," quote, unquote,

       14   "similar rebounding device."       And what they indicated is

       15   what -- that it excluded from coverage were activities

       16   where an individual bounces, rebounds, or oscillates more

       17   than with once as an intended consequence of use.

       18                    Do you agree with that definition?

       19                    MR. GROSS:    Form.

       20             A.     Yes.

       21   BY MR. STEWART:

       22             Q.     They also indicated in there, what they

       23   call a Memorandum of Coverage, an MOC, that "similar

       24   rebounding devices did not include gymnastic vaulting

       25   springboards, the use of similar springboards for theater



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        1   or film arts, special effects, Velcro Wall/Human Fly

        2   carnival events which utilize a springboard or an

        3   inflated launching pad to propel a participant into a

        4   padded wall, Bungee Run events wherein a harnessed

        5   participant is retracted back along an inflated pathway a

        6   single time by an anchored bungee cord, the use of

        7   swimming pool diving boards as part of a supervised

        8   physical education program.

        9                    Do you agree that those would be covered

       10   and are not similar rebounding devices?

       11                    MR. GROSS:   Form.

       12             A.     Yes.

       13   BY MR. STEWART:

       14             Q.     Would a child's swing on a playground be

       15   considered a rebounding device?

       16             A.     Yes.

       17             Q.     Because it goes back and forth?

       18             A.     Yes.

       19             Q.     Would -- I don't even know what it's

       20   called, but on playgrounds they have these horses or

       21   whatever kind of animal they build, and they are on these

       22   really hard, thick springs right in the center, and they

       23   sort of go back and forth and they make

       24   wah-wah-wah-wah-wah.      Let's see -- I'd like to see you

       25   type that.



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        1                    Is that a similar rebounding device?

        2                    MR. GROSS:   Form.

        3              A.    Yes.

        4   BY MR. STEWART:

        5              Q.    Isn't it true that exclusionatory --

        6   exclusionary language is to be construed strictly and in

        7   favor of granting coverage to the insured?

        8                    MR. GROSS:   Form.

        9              A.    Yes.

       10                    Excuse me.   Why don't I respond back to

       11   that.

       12                    If language is ambiguous, it is to be

       13   construed as to be in favor of the insured.         If it is

       14   clear, it is not necessarily to be in favor of the

       15   insured.

       16   BY MR. STEWART:

       17              Q.    Am I correct that a binder, the preliminary

       18   document used in the insurance industry to temporarily

       19   bind coverage pending the issuance of a policy, is of no

       20   effect or importance once the policy is issued?

       21                    MR. GROSS:   Form.

       22              A.    Correct.

       23   BY MR. STEWART:

       24              Q.    Now, you've indicated in your report -- and

       25   you can certainly read along with me, if you'd like.           I'm



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        1   going to be asking you certain questions out of it.           I'm

        2   on the bottom Page 2.

        3                    And you indicated that based upon the

        4   endorsement/exclusion, nine -- I'm sorry L536, that the

        5   claims are absolutely excluded from the policy -- and

        6   then you go on with your sentence.

        7                    And really what I'm curious about is why

        8   you used the term "absolutely."

        9              A.    Because I think the endorsement is crystal

       10   clear as to the exclusion for physical activity, athletic

       11   activity and sports.

       12              Q.    Okay.   All right.    And it says "or sports,"

       13   correct?

       14              A.    Or sports.

       15              Q.    You see a difference there, don't you?

       16              A.    Yes.

       17              Q.    All right.   You've also used that term

       18   "crystal clear."

       19                    What I'm curious about is why you felt the

       20   need to have in your report that it's "absolutely

       21   excluded" as opposed to just being "excluded."          What's

       22   the difference?

       23              A.    Because I found the exclusion endorsements

       24   to be very well written.      And I, as an insurance agent

       25   for many years, I've -- I understood them clearly and




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        1   believed that -- that -- that's why I use such strong

        2   language, as opposed to just saying that they were

        3   excluded.

        4             Q.     Okay.

        5             A.     I wanted -- excuse me.      I wanted there to

        6   be left no doubt in anybody's mind that I felt that these

        7   were completely clear, these exclusions.

        8             Q.     All right.   So if a policy is written where

        9   it's unclear, you would not use the term "absolutely

       10   excluded," you would just use the term "excluded"?

       11                    MR. GROSS:   Form.

       12             A.     Correct.

       13   BY MR. STEWART:

       14             Q.     All right.   Your report also says that it

       15   is customary for GL policies.         What is a GL policy?

       16             A.     General liability.

       17             Q.     What does that mean?

       18             A.     Well, it's a policy for things like

       19   somebody falling down in this -- in this office building,

       20   for example.     You know, just different things happening.

       21             Q.     It's termed --

       22             A.     You, unfortunately, falling from your chair

       23   or something like that.

       24                    General -- that's what a general liability

       25   policy does.     We call it slips, trips, and falls.         That's




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        1   what we call it in the insurance industry.

        2             Q.     All right.   The reason it's called a

        3   general liability policy is it generally covers the

        4   injuries that can occur either at a certain place or to a

        5   certain insured, correct?

        6                    MR. GROSS:   Form.

        7             A.     Subject to the exclusions and the

        8   endorsements in the policy, that's correct.

        9   BY MR. STEWART:

       10             Q.     We're going to get to the exclusions.

       11                    But if there were no exclusions, or

       12   exceptions, or anything, it generally covers the damage

       13   that's done, correct?

       14             A.     Yes.

       15             Q.     And that's why it's called a general

       16   liability policy, right?

       17             A.     Yes.

       18             Q.     All right.   So you indicated that "it is

       19   customary" -- I'm on Page 3 now -- "it is customary for

       20   GL policies to be extremely tight as to what they will

       21   cover."

       22                    Did you say that because they necessarily

       23   include exclusions?

       24             A.     Very often they're written as what are

       25   termed "base policies," for lack of a better term, and




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        1   then we would add endorsements that would either include

        2   or exclude things, depending upon the type of policy it

        3   was.

        4             Q.     All right.

        5             A.     For example, you might have a liquor

        6   liability endorsement on a particular policy, but that

        7   endorsement is going to cost X amount of dollars extra,

        8   in addition to the general liability policy.          So it could

        9   be a bar or a nightclub, or something like that, or a

       10   restaurant, and you would include liquor liability in

       11   there as well on a -- on a GL policy.

       12             Q.     Okay.   What I'm not quite understanding is

       13   why you stated that a GL policy are extremely tight as to

       14   what they cover.

       15                    I thought we just discussed the fact that a

       16   GL policy -- if you put aside the exclusions and

       17   endorsements for a moment -- just a general GL policy

       18   covers a lot of things, and is not real strict until you

       19   get to the exclusions or the endorsements.

       20             A.     It covers a lot of regular things that

       21   might happen in the course of a general business, but it

       22   typically does not cover the things that have a much

       23   higher exposure to the insurance carrier; such as, I just

       24   gave an example, liquor liability.        They're not just

       25   going to throw in liquor liability coverage on a GL




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        1   policy just because.      It's going to cost you more than

        2   the regular GL policy is going to cost you.

        3             Q.     I think we may be saying the same thing,

        4   but -- and maybe I'm just misunderstanding your sentence

        5   here, or the phrase, it's really not a full sentence --

        6   but; am I correct that if you take out the exclusions --

        7   or before you add the exclusions and the endorsements to

        8   a GL policy, it's a rather general policy that covers a

        9   lot of stuff?

       10             A.     Yes.

       11             Q.     Okay.   All right.    We're on the same page.

       12                    Now I'm on Page 4, Paragraph Number 2.        And

       13   once again you say that it is absolutely clear that

       14   Mr. Reed was operating a mechanical device on that day.

       15                    Is that correct?     Did I read that

       16   correctly?

       17             A.     Well, from what I've read, yes, I did -- I

       18   did -- I did state that, and I stated that because my

       19   understanding was that he was reaching for the handle of

       20   the zip line when he drowned.

       21             Q.     And so, you say -- your opinion, as we sit

       22   here today -- and you can change it if you want, because

       23   I think you said some other things before this about him

       24   not using a zip line that day.        But your opinion, as you

       25   sit here today, is that he was operating a mechanical



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        1   device on that day and you -- and you saw that in the

        2   evidence in this case?

        3                    MR. GROSS:     Form.

        4             A.     From what I've read, it appeared that he

        5   was using that.     We are not necessarily 100 percent sure

        6   that he was using a zip line that day.

        7   BY MR. STEWART:

        8             Q.     In fact, there's nobody who says "I saw him

        9   using the zip line," correct?

       10                    MR. GROSS:     Form.

       11             A.     I hate to go back to it, but what I read a

       12   half-hour before; we had the deposition that said

       13   something in there that four -- four witnesses said that

       14   they saw him using the zip line.

       15   BY MR. STEWART:

       16             Q.     Why don't you find it since you've read

       17   them.   It's probably in the statement of facts.         But I

       18   don't want to -- I don't want to prevent you from finding

       19   it.

       20                    THE WITNESS:     Do you know where it is?

       21                    MR. GROSS:     I -- I --

       22                    THE WITNESS:     You prefer not to find it?

       23                    (Brief recess.)

       24   BY MR. STEWART:

       25             Q.     Is that the only place?



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        1             A.     I apologize.    I have made a mistake.      We

        2   were talking about four of Bow Down's volunteers were

        3   present the day that they suggested that he was swimming

        4   at the time of his death, not zip-lining at the time of

        5   his death.

        6             Q.     Okay.

        7             A.     That's what -- that's what I thought that I

        8   read.   But I -- I did read this pretty quickly when -- in

        9   a short period of time.

       10             Q.     Fair enough.

       11                    So when you were testifying earlier today

       12   in this deposition and you said that there -- you're

       13   aware of four witnesses indicating that O'Quan Reed was

       14   zip-lining, what you really meant was that he was

       15   swimming?

       16             A.     That I read that he was -- that they stated

       17   that he was swimming.

       18             Q.     Okay.

       19             A.     Or that four people stated that he was

       20   swimming.

       21             Q.     You're not aware of any evidence in this

       22   case that O'Quan Reed was zip-lining at the time that he

       23   drowned, correct?

       24             A.     Correct.

       25             Q.     Oh, we were going through your report.           All



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        1   right.    In that same Number 2 paragraph on Page 4 you

        2   indicated in the last sentence:        "The policy and this

        3   endorsement are crystal clear" and you used the term

        4   "crystal clear," as opposed to just "clear."          Why?

        5             A.     I'm sorry, we're on Page --

        6             Q.     4.

        7             A.     4.

        8                    MR. GROSS:     Right here.

        9                    THE WITNESS:     I'm looking for where it

       10             says --

       11                    MR. GROSS:     The last sentence it starts

       12             with "the policy."

       13                    THE WITNESS:     Oh, okay.   The second to the

       14             last sentence.

       15                    MR. GROSS:     Oh, I'm sorry.   That's right.

       16             A.     Again, if he was not using -- if he was

       17   not -- if -- if, in fact, it is shown that he was not

       18   using a mechanical ride, then, obviously, this does not

       19   apply.

       20   BY MR. STEWART:

       21             Q.     But I'm just curious as to -- is the answer

       22   the same as to why you felt the need to use the term

       23   "crystal clear," as opposed to just "clear"?

       24             A.     Yes, because my understanding was that I

       25   believed I had read in the documents that I was given




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        1   that he had -- was reaching for a handle for the zip

        2   line.   So I felt that he was using a mechanical device at

        3   that particular time.      So I felt that if he was doing

        4   that then yes, in fact, he was -- he was -- he

        5   was involved in the -- in the activity of zip-lining.

        6             Q.     Okay.

        7             A.     And that's why I used "crystal clear."

        8             Q.     Why not just "clear"?

        9             A.     Because I think the endorsement is very

       10   explicit in its statement in terms of an exclusion for

       11   any type of coverage for mechanical devices.

       12             Q.     Does the Mount Vernon policy cover

       13   drowning?

       14             A.     I believe that there's not an exclusion for

       15   drowning in the policy.

       16             Q.     If someone drowned, would this policy cover

       17   that?

       18             A.     Assuming it wasn't preempted by any of the

       19   excluding endorsements, yes.

       20             Q.     Can you envision a scenario where somebody

       21   drowns, yet they were not in an athletic activity,

       22   physical activity or sport?

       23             A.     It's kind of morbid, but yes.      I guess if

       24   somebody was taking a bath and they fell asleep in the

       25   bathtub and they slipped down and -- and -- and fell,




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        1   they could ultimately drown from that.

        2             Q.     Okay.

        3             A.     I think it's happened to children,

        4   unfortunately.

        5             Q.     Okay.   So there is coverage for drowning,

        6   so long as one of the other exclusions does not apply?

        7                    MR. GROSS:   Form.

        8             A.     I believe there's no exclusion for

        9   drowning.

       10   BY MR. STEWART:

       11             Q.     And how is that different from what I just

       12   said?

       13             A.     It doesn't list drowning in the policy, but

       14   it lists physical injury and all types of other things

       15   related to it.     So I believe that it's covered under that

       16   component of the policy; that it didn't need to

       17   specifically list the word "drowning" in the policy for

       18   drowning to be covered in the policy.

       19             Q.     Okay.   Let's move on to Item Number 4, at

       20   the bottom of Page 4.      This is discussing the water

       21   hazard.     Do you see where I'm at?

       22             A.     Yes.

       23             Q.     All right.   If, in fact, -- well, since you

       24   are unable to find any application that is signed by Bow

       25   Down, do you agree that it would not be fair to rescind a



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        1   policy for a material misrepresentation, unless you

        2   actually have a signed policy where that occurred?

        3             A.     Yes.

        4                    MR. GROSS:   Form.

        5   BY MR. STEWART:

        6             Q.     You withdraw that opinion?

        7             A.     Yes.

        8             Q.     All right.   Moving on to Number 5.      I

        9   assume the first part of that opinion has to do with the

       10   exclusions.    But would you agree that that last sentence

       11   you also withdraw?

       12                    MR. GROSS:   Form.

       13             A.     Yes.

       14   BY MR. STEWART:

       15             Q.     And the other portions of that opinion have

       16   to do with the exclusions?       Just so I'm clear.     I don't

       17   want to assume something.

       18             A.     That's correct.

       19             Q.     Okay.   I thought so, but it's wrong for me

       20   to assume things.

       21                    And finally in Opinion 6, if I'm reading

       22   this correctly, what you're saying is that the term

       23   "athletics" in the medical payment section means the same

       24   as physical -- "athletic activity, physical activity or

       25   sport," correct?



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        1             A.     That's correct.

        2                    I would like to go back to Number 4 for a

        3   moment, if we can.

        4             Q.     Sure.

        5             A.     I wouldn't want to withdraw the entire

        6   opinion that I have listed here.

        7             Q.     Okay.

        8             A.     But what I -- what I would suggest is that

        9   an unsigned application is not an application that --

       10   that will hold water.      Pardon the expression.      So I think

       11   there's -- there's a problem with not seeing the signed

       12   application that was there.

       13                    But my opinions listed there were preempted

       14   upon the fact that there were discussions that occurred

       15   for the actual application itself.        And if nobody can

       16   produce a signed application, I think that -- that --

       17   that I cannot stand behind that, that particular opinion.

       18             Q.     And it wouldn't be just producing a signed

       19   application.     It would be producing a signed application

       20   where Bow Down indicates that they do not participate in

       21   water hazards, correct?

       22             A.     Yes, because that was one of the questions

       23   that was asked on an application in terms of water

       24   hazards, and they wanted to know whether water hazards

       25   were included or excluded.




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        1             Q.     Right.    And so, if we don't have an

        2   application signed by Bow Down where they are stating

        3   that they don't participate in water hazards, then you

        4   would agree to withdraw this opinion, correct?

        5                    MR. GROSS:    Form.

        6             A.     Yes.

        7   BY MR. STEWART:

        8             Q.     Okay.    If Mount Vernon intended for the

        9   term "athletic" in the medical payment section to mean

       10   the same as "athletic activity, physical activity or

       11   sport," why didn't they just use the same term?

       12                    MR. GROSS:    Form.

       13             A.     I think -- I can't speak for Mount Vernon,

       14   but I believe that they wanted to be explicit in the

       15   actual exclusion or endorsement that was there that went

       16   on in greater detail than was there from the -- for the

       17   main form of the policy.

       18   BY MR. STEWART:

       19             Q.     Isn't it true that in constructing an

       20   insurance policy, when you mean the same thing you should

       21   use the same term?

       22                    MR. GROSS:    Form.

       23             A.     Yes.

       24   BY MR. STEWART:

       25             Q.     I'd like to go over the prior testimony.



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        1   If you'll turn to whatever page that is, 7, of your

        2   report.

        3              A.      Sure.

        4              Q.      What I'm curious about is -- and you can do

        5   this as -- as -- what's the word I want? -- compact,

        6   short, as quickly as you'd like, but I'm just interested

        7   in what the claim was in each one of these cases,

        8   basically.

        9              A.      They go back some time, so, obviously, six

       10   years is a hard thing to remember, all six years.

       11              Q.      If you can't remember, you can't remember.

       12              A.      The first one is a wholesale broker versus

       13   a retail broker; what one was supposed to do versus

       14   another.

       15              Q.      So agent liability?

       16              A.      Agent liability.     They missed a limit on

       17   $100,000.       Obviously, that's a lot of money, but they

       18   missed the limit on $100,000 in an aggregate limit --

       19              Q.      Okay.

       20              A.      -- and were sued over that.

       21              Q.      And you represented -- or you testified on

       22   behalf of --

       23              A.      I represented Repath McCauley Woods, the

       24   wholesale broker.          It's listed there.

       25              Q.      Second one?



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        1             A.      That had to do with a workers' compensation

        2   case.

        3             Q.      Okay.

        4             A.      So it had nothing to do with anything even

        5   remotely related to what we're talking about.

        6             Q.      Okay.

        7             A.      Third one I believe had to do with a

        8   municipal power agency not putting in the appropriate

        9   power units for a particular jurisdiction, and getting

       10   sued for that, because they hadn't put in enough of the

       11   units for a particular area.

       12             Q.      And how did that involve insurance?      Or did

       13   it?

       14             A.      I think -- I think I -- I -- somehow it

       15   involved -- there was a liability exposure there, in

       16   terms of what they were supposed to do.         I don't

       17   remember.      It goes back probably almost six years.

       18             Q.      Okay.   And who did you testify on behalf

       19   of?

       20             A.      I represented --

       21             Q.      Oh, you've got it there.     Go ahead.   You

       22   can move on.

       23             A.      Number 4:   I apologize, I don't remember.

       24             Q.      Okay.

       25             A.      Number 5:   Shore Delray Beach was a




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        1    restaurant, and it had to do with liability related to

        2    windstorm exposure in a restaurant.
        3              Q.    And you testified on behalf of the

        4    insurance company?
        5              A.    I did.

        6              Q.    Okay.
        7              A.    For 6:    I've asked and answered it.        I

        8    cannot remember 6.

        9              Q.    Okay.
       10              A.    Number 7 I do remember.       It's a little
       11    boring.   But there was an Italian restaurant at the end

       12    of a pier in Pensacola Beach, and somebody did not sell

       13    them flood insurance.      When -- and there was --
       14    obviously, it was a year where there were massive

       15    hurricanes coming in and they were damaged terribly.

       16              Q.    And you testified on behalf of --
       17              A.    And I testified on behalf of Lillo's
       18    Italian Restaurant in Pensacola.

       19              Q.    Okay.
       20              A.    Number 8:     I don't remember.

       21              Q.    All right.

       22              A.    Number 9:     Just wrapped up, believe it or

       23    not, it was 15 years.      I was hired by Wilkie Farr &

       24    Gallagher in New York.
       25              Q.    And which side did you represent?



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        1             A.     Tiara -- I -- I -- Marsh & McClennan, the

        2   broker.

        3             Q.     Okay.

        4             A.     Or Marsh, the broker.

        5                    It had to do with $120,000,000 in windstorm

        6   damage, and they were fighting with everybody over who

        7   was going to pay for it.

        8             Q.     All right.

        9             A.     It ultimately wrapped up.

       10                    The next one:    I was hired.    It had to do

       11   with a directors and officers insurance case.

       12             Q.     Let's move on.

       13             A.     Okay.   Number 11 was an auto accident case.

       14             Q.     And you testified both for Number 10 and

       15   Number 11 on behalf of the insurance company?

       16             A.     Yes.

       17             Q.     Okay.   12?

       18             A.     12 was another windstorm insurance case

       19   where there was tremendous windstorm damage, and the

       20   insurance company wasn't able to pay, or didn't want to

       21   want to pay as much it was supposed to pay.         So that's

       22   the case I was involved in.

       23             Q.     And you testified on behalf of the

       24   insurance company in that one?

       25             A.     Yes.




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        1             Q.     All right.

        2             A.     And the next one was actually one where I

        3   mentioned the -- having to do with liquor liability.           It

        4   was somebody who owns a bar in Fort Lauderdale with a

        5   pool in the middle of a bar, which is kind of

        6   unbelievable if you can kind of think about that, and --

        7   which is a terrible accident waiting to happen.          And it's

        8   been there a lot of years and there was a terrible

        9   accident there, and I was involved.

       10             Q.     And who did you testify on behalf of?

       11             A.     I testified on behalf of the -- by the bar

       12   and grill.

       13             Q.     All right.

       14             A.     Number 14 was an auto accident.

       15             Q.     And you testified on behalf of the defense,

       16   I mean the insurance company?

       17             A.     Yes, USAA Casualty Insurance Company.

       18   That's correct.

       19                    Another was -- Number 15 was another liquor

       20   liability case, unfortunately, as you can see, Beach Bars

       21   USA.

       22             Q.     And you testified on behalf -- or you were

       23   retained on behalf of the bar or restaurant?

       24             A.     Yes.

       25             Q.     You've got a nice little bar restaurant



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        1   business going, huh?          You don't have to answer that.

        2              A.       I didn't mean to, but people found me.

        3              Q.       16?

        4              A.       16 was a horror.    It was an individual

        5   attorney who sued Allstate Insurance Company for not

        6   getting the work she was supposed to get from Allstate

        7   Insurance Company as an attorney for Allstate Insurance

        8   Company.        And she fought them for many, many, many years.

        9   And I don't know what the end result was of that.

       10              Q.       You testified on behalf of her lawyer?

       11              A.       Yes.    That was my deposition that lasted

       12   eight hours.

       13              Q.       This one won't last that long.

       14              A.       Okay.

       15                       Number 17 is a -- unfortunately, it's

       16   another -- and there's a lot of them down here, as you

       17   understand, a lot of hurricane insurance claims.           This

       18   was a hurricane insurance claim against the Ventnor "B",

       19   which was one of the Kings -- not Kings, but one of the

       20   Century Village condominiums.

       21              Q.       And who did you testify on behalf of?

       22              A.       On behalf of the -- the condominium.

       23              Q.       Okay.    What's the next one?

       24              A.       I don't remember.

       25              Q.       Okay.



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        1             A.     You're right.     I guess I've been doing a

        2   bunch of liquor liabilities.

        3                    Number 19 is another liquor liability case

        4   with Bombay Liquors.

        5             Q.     And you testified on behalf of the liquor

        6   license holder?

        7             A.     Yes.

        8             Q.     Okay.    Next one?

        9             A.     The next one is pretty interesting.          It's

       10   a -- it's still going on.        It's a case where a -- how do

       11   you describe them?       We call them MGAs, like a wholesaler,

       12   different -- a little bit different than a wholesaler.

       13                    Basically, took advantage of a wholesaler,

       14   who was insuring a couple billion dollars worth of

       15   property in the United States.

       16             Q.     So it's basically an agent liability case?

       17             A.     It was an agent liability, but the guy is

       18   in federal prison right now for what he did.          So it

       19   didn't work out well for him.         It was -- it went on and

       20   he lost a fortune, I mean, in terms of he had to go back

       21   and replace his insurance.        So that's all.

       22             Q.     Okay.    21?

       23             A.     The person who didn't buy life insurance --

       24   who bought life insurance and then ultimately said that

       25   they wanted to cancel their life insurance.         And they




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        1   were in the process of getting a divorce and he committed

        2   suicide and nobody got paid, because he let the policy

        3   lapse.    So...

        4             Q.      Did you notice, as you were going through

        5   the Mount Vernon policy, that they had two separate

        6   exclusions for trampolines and rebounding devices?

        7             A.      No.

        8             Q.      All right.    I'm going to ask you what's the

        9   quickest way for you to find -- I can show it to you.

       10   Let me see if I've got it.         I mean, do you even know what

       11   I'll talking about?        And maybe we're just saying the same

       12   thing.

       13             A.      Well, I know -- I know that -- I mean, I

       14   know what -- I understand what the question means.

       15             Q.      Right.    But do you know that there's an

       16   exclusion for trampoline or rebounding devices --

       17             A.      Right.

       18             Q.      -- it's L-433?

       19                     I don't have any Bate stamps on this.        I'm

       20   sorry, I thought I did.

       21                     And then you've got L-607, which is an

       22   exclusion for climbing, rebounding, and interactive games

       23   or devices, that has under letter C:         "Trampolines or

       24   similar rebounding devices"?

       25             A.      No, I was not aware of that.




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        1             Q.     You agree that those are the same thing?

        2             A.     Yes.

        3             Q.     Why is it that an insurance policy would be

        4   written excluding the same thing twice?

        5                    MR. GROSS:   Form.

        6             A.     I can't speak for the insurance company.

        7   BY MR. STEWART:

        8             Q.     All right.   In your experience, when an

        9   insurance policy excludes the same thing twice, that's

       10   poor drafting, correct?

       11                    MR. GROSS:   Form.

       12             A.     Yes.

       13   BY MR. STEWART:

       14             Q.     You would agree that this policy, based

       15   upon that particular example, is poorly drafted, correct?

       16                    MR. GROSS:   Form.

       17             A.     Not the policy, but those particular

       18   endorsements.

       19   BY MR. STEWART:

       20             Q.     Okay.   With regard to that January 28, 2011

       21   memo and the e-mail that we talked about -- it's in the

       22   materials.     If you want to look at it, you're welcome to

       23   refer to it.     -- if it is only communication between

       24   Mount Vernon and Genesee, you -- do you agree that that

       25   does not bind Bow Down?



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        1                    MR. GROSS:   Form.

        2             A.     I agree with you.

        3   BY MR. STEWART:

        4             Q.     Now, you also indicated in your report --

        5   and I missed it as I was going through it -- under -- on

        6   Page 8 of 16 of the policy, under Supplemental Payments

        7   Coverage A and B, Number 1D indicates that "Mount Vernon

        8   will pay all reasonable expenses incurred by the insured

        9   at our request to assist us in the investigation or

       10   defense of the claim or suit, including actual loss of

       11   earnings up to $250 a day because of time off from work."

       12                    I'll show it to counsel first, and ask you

       13   what that means.

       14             A.     It's basically --

       15             Q.     Let him -- let him read it first and then

       16   you can read it.     And you're welcome --

       17             A.     I'm familiar with it.

       18             Q.     Okay.

       19             A.     It's basically a duty to defend policy, and

       20   states that they will defend them under those

       21   circumstances; however, the endorsements state that --

       22   and I believe I read this and I can't recall exactly

       23   where it was -- that any time the endorsements are

       24   basically stronger and exclude the actual main form of

       25   the policy, then it does not become a duty to defend




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        1   policy any longer.

        2             Q.     I think we're talking cross purposes.         Why

        3   don't you read what -- and you're welcome to refer to the

        4   page before -- read what I have highlighted and let me

        5   know when you're done reading it.

        6             A.     I understand this.

        7             Q.     Okay.   Does that mean that Mount Vernon

        8   should reimburse Bow Down for all reasonable expenses

        9   they incur at Mount Vernon's request to assist in the

       10   investigation and defense of the claim?

       11             A.     I think --

       12                    MR. GROSS:   Form.

       13             A.     -- only the Court can determine that, but

       14   perhaps yes.

       15   BY MR. STEWART:

       16             Q.     Why can't you determine it?

       17             A.     I'm not -- I'm not the Court.      As I said, I

       18   believe that there was -- that this does not become a

       19   duty to defend policy if the exclusions preempt the

       20   actual policy itself, which they did -- and which I

       21   believe they do in this case.

       22             Q.     Oh, I see what you're saying.      In other

       23   words, if one of the exclusions applies, you think that

       24   it also excludes them from reimbursing Bow Down

       25   reasonable expenses?



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        1             A.     I think I wrote that in my report.       This is

        2   not a duty to defend policy any longer.

        3             Q.     Oh, okay.    I see what you're saying.      But

        4   you didn't talk about it specifically with regard to

        5   reasonable expenses?

        6             A.     No.    No, I did not.

        7             Q.     Gotcha.

        8                    And if the exclusions that we've discussed

        9   here today; the mechanical ride, the trampoline or

       10   rebounding device, or the athletic activity, physical

       11   activity or sports exclusion -- exclusions do not apply,

       12   then it is your opinion that Mount Vernon has a duty to

       13   defend?

       14             A.     Yes.

       15                    MR. GROSS:     Form.

       16   BY MR. STEWART:

       17             Q.     And if the exclusions; mechanical ride,

       18   trampoline or rebounding device, or physical activity --

       19   or athletic activity, physical activity or sport do not

       20   apply, and Bow Down is found liable for Mr. Reed's

       21   unfortunate death, do you agree that they should cover

       22   this claim -- Mount Vernon should cover this claim?

       23                    MR. GROSS:     Form.

       24             A.     If the exclusions do not apply, yes.

       25                    MR. STEWART:     I think I'm done.    Let me




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        1             just review.

        2   BY MR. STEWART:

        3             Q.     Getting back to the issue of the handle, as

        4   you have termed it, the zip line handle.

        5                    Is it true that actually being on the zip

        6   line is using the zip line?

        7             A.     In my opinion, yes.

        8             Q.     Okay.   In your opinion, if something were

        9   to happen to somebody while they were actually on the zip

       10   line, if they got injured, in your opinion, is that -- is

       11   that -- would that injury be arising out of the use of a

       12   zip line?

       13             A.     Yes, it would.

       14             Q.     Okay.   If somebody were -- as the issues

       15   are in this case -- if somebody were swimming out to

       16   the -- to the "handle," as you've termed it, would that

       17   be an incidental use of the zip line?

       18                    MR. GROSS:   Form.

       19             A.     Yes.

       20   BY MR. STEWART:

       21             Q.     And if somebody were swimming out -- just

       22   swimming in the lake and went by the zip line, that

       23   wouldn't even be incidental use, correct?

       24                    MR. GROSS:   Form.

       25             A.     That would be correct.




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        1                     MR. STEWART:     All right.     That's all I

        2             have.

        3                     MR. GROSS:     Okay.   Then we'll read.

        4                     THE COURT REPORTER:        Do you want me to type

        5             this up?

        6                     MR. STEWART:     Please.     I'd like a full PDF

        7             and that is it.

        8                     THE COURT REPORTER:        That's it?

        9                     MR. STEWART:     That's all I use.

       10                     THE COURT REPORTER:        And you'll let me

       11             know?

       12                     MR. GROSS:     We'll take a copy.       That's

       13             fine.

       14                     (Thereupon, the proceedings concluded at

       15             3:21 p.m.)

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                                  CERTIFICATE OF OATH

            THE STATE OF FLORIDA )

            COUNTY OF PALM BEACH )




                             I, the undersigned authority, certify that

            Scott Stein, A.R.M. personally appeared before me and was

            duly sworn on the 7th day of July, 2015.



                             Signed this 14th day of July, 2015.




                             _________________________________

                             Robyn Maxwell, RPR, FPR, CLR

                             Realtime Systems Administrator

                             Notary Public - State of Florida

                             My Commission No. FF 091862

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                                 CERTIFICATE OF REPORTER


             THE STATE OF FLORIDA )
             COUNTY OF PALM BEACH )


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             Reporter, certify that I was authorized to and did
             stenographically report the deposition of Scott Stein,
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             transcript was requested; and that the transcript is a
             true and complete record of my stenographic notes.
                                I further certify that I am not a
             relative, employee, attorney, or counsel of any of the
             parties, nor am I a relative or employee of any of the
             parties' attorney or counsel connected with the action,
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                             DATED this 14th day of July, 2015.




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                             Realtime Systems Administrator



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            14th of July, 2015
            Scott Stein, A.R.M.
            c/o Stephen R. Gross, Esquire
            FOWLER, WHITE, BURNETT, P.A.
            100 Southeast 3rd Avenue
            12th Floor
            Fort Lauderdale, FL 33394


            IN RE: Bow Down vs. Mt. Vernon Fire Insurance
            CASE NO.: 9:15-CV-80072-DMM

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            you did not waive your signature.

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            transcript and will make arrangements with you to read
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                           CASE NO. 9:15-CV-80072-DMM
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